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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 22-CV-02843-MDB

   RALPH MARCUS HARDY,

           Plaintiff,

   v.

   ADAMS COUNTY, a municipality,
   GENE CLAPS, Sheriff, Adams County, in his official capacity,
   DEPUTY RABIE, deputy,
   DEPUTY OVERMYER, deputy,
   DEPUTY DEHERRERA, detention specialist, and
   RICHARD REIGENBORN, in his individual capacity,

         Defendants.
   ______________________________________________________________________________

             DEFENDANT ADAMS COUNTY, COLORADO, DEPUTY RABIE,
     DEPUTY OVERMYER, RICHARD REIGENBORN AND SHERIFF GENE CLAPS’
          JOINT NOTICE TO THE COURT REGARDING ERROR IN MAILING
   ______________________________________________________________________________

           Defendants, by and through their respective attorneys, Kerri A. Booth, Assistant County

   Attorney and Michael A. Sink, Assistant County Attorney, hereby jointly notify the Court of an

   error in mailing of their Objections (ECF 88, 89, and 90) to the Report and Recommendation of

   United States Magistrate Judge issued July 19, 2023 (ECF 86).

                        CERTIFICATION PURSUANT TO D.C.COLO.LCivR. 7.1

           This notice is exempt from conferral pursuant to D.C.COLO.LCivR. 7.1(b)(1) and (2) as

   Plaintiff is a pro se incarcerated person.

           1)      On August 2, 2023, Defendants filed their respective objections to the Report and

   Recommendation of the United States Magistrate Judge which included a certification of mailing

   to Plaintiff’s current address.

           2)      The objections were incorrectly mailed to the Plaintiff’s former address.


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          3)      On August 15, 2023, the copies mailed to Plaintiff were returned as undeliverable

   as the address on the label was an incorrect address for the Plaintiff. Defendants were made aware

   of this error upon receipt of the returned mail.

          4)      Plaintiff’s response to Defendants Objections would ordinarily be due on August

   16, 2023.

          5)      Counsel apologize for the error and resulting delay. Defendants do not object to

   Plaintiff being granted additional time to respond to their objections.

   DATED: August 15, 2023.

                                                          Respectfully submitted,

                                                          s/Michael A. Sink
                                                          Michael A. Sink
                                                          Assistant County Attorney
                                                          4430 S. Adams County Pkwy
                                                          5th Floor, Suite C5000B
                                                          Brighton, CO 80601
                                                          Phone: (720) 523-6116
                                                          Fax: (720) 523-6114
                                                          msink@adcogov.org

                                                          Counsel for Defendants Richard Reigenborn,
                                                          Daniel DeHerrera, Jennifer Overmyer, and
                                                          Adams County, Colorado

                                                          s/Kerri A. Booth
                                                          Kerri A. Booth
                                                          Assistant County Attorney
                                                          4430 S. Adams County Pkwy
                                                          5th Floor, Suite C5000B
                                                          Brighton, CO 80601
                                                          Phone: (720) 523-6116
                                                          Fax: (720) 523-6114
                                                          kbooth@adcogov.org

                                                          Counsel for Defendant Dennis Rabie and
                                                          Sheriff Gene Claps, in his official capacity




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on August 15, 2023, I caused the forgoing to be electronically filed

   with the Clerk of the Court using the PACER system. I further certify that I sent a copy of the

   foregoing to pro se Plaintiff Ralph Hardy via FedEx, postage prepaid, to:

          Ralph Marcus Hardy
          DOC #110262
          Bent County Correctional Facility
          11560 County Road FF-75, Unite SE-107-B
          Las Animas, CO 81054


                                                       Respectfully submitted,

                                                       s/Michael A. Sink
                                                       Michael A. Sink
                                                       Assistant County Attorney
                                                       4430 S. Adams County Pkwy
                                                       5th Floor, Suite C5000B
                                                       Brighton, CO 80601
                                                       Phone: (720) 523-6116
                                                       Fax: (720) 523-6114
                                                       msink@adcogov.org

                                                       Counsel for Defendants Richard Reigenborn,
                                                       Daniel DeHerrera, Jennifer Overmyer, and
                                                       Adams County, Colorado




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